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                                                May 24, 2021

Honorable James D. Peterson
United States District Court Chief Judge
120 North Henry Street
Madison, Wisconsin 53703

         Re:       United States v. Anthony Brooks
                   Case No. 21-cr-98-jdp

Dear Judge Peterson:

        In anticipation of the sentencing hearing, the defense submits this
memorandum. The guidelines are 37-46 months. Brooks requests a sentence of 30
months. This sentence is sufficient in light of the extraordinary growth Brooks has
demonstrated, including working to address the alcohol addiction that drives his
criminal history. The conduct here involves Brooks drunk and angry with a gun.
It is serious conduct and he will receive prison time. But the need for many years’
incarceration recedes when a person has been putting the pieces in place to safely
transition back to the community. Brooks has independently sought treatment, has
a proven work ethic, and a job waiting for him when he is released. His
demonstrated commitment plus the accountability of supervision can effectively
keep him sober, and when he doesn’t drink, he does not pose a danger to the
community. His extraordinary progress and work ethic show he has been setting
himself up for sustained success after release. A sentence of 30 months is sufficient.




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      I. Brooks has built a path towards stability and is poised for success on
         supervision.

       In the past year, Brooks has made meaningful strides and impressed nearly
everyone he’s come in contact with. Both prior to his arrest and in custody, he has
worked to find stable housing, address his addiction, and educate himself. He has
also demonstrated an exemplary work ethic. Counsel recognizes that this Court
will sometimes explain that good behavior and rehabilitation while in custody is
laudable but can only play a small role at sentencing, because the defendant is in
a much more structured environment, with strong motivation to impress the
Court. But Brooks’ situation is different and his work over the past year is more
meaningful in at least three ways.
      First, Brooks has always displayed a strong work ethic and, despite his
addiction, was working towards stability. For the past six years, he worked for
P&H Cleaning. PSR ¶ 101. He excelled in the work, and any gaps were due either
to short periods in jail or slow business for the company. P&H praised his “strong
work ethic” and stated he will have a job there whenever he is released. Att. 1.
       He also had his first child in July. While his girlfriend Ms. Gorman was
pregnant, he worked to get the couple stable housing by applying to Sankofu
Health, an organization that helps young families avoid homelessness. His case
manager there had high praise of him. Att. 2. He not only fulfilled the expectations
of the program, including job training, she called him “by far one of the best clients
that I have had the pleasure to serve.” Att. 2. He was “very active in changing the
dynamics for his newborn son and fiancé.” Att. 2.
       Unfortunately, he had not yet addressed his drinking. In July, he was
arrested for this offense, and released on bond in state court. Independent of any
court, he sought intensive outpatient treatment for himself. In addition to a full-
time job and a construction apprenticeship through Sankofu, he attended
substance abuse treatment through Jesse Crawford Recovery Center for 2 hours a
day, Monday through Thursday. PSR ¶ 96. For an addict defendant who has been
arrested many times, a question for the Court is often: how can we know that it’s
different this time? Brooks had demonstrated that he was working towards change
and addressing his addiction before he was in custody.
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       Third, Brooks’ performance in custody has not been merely exemplary, it
has been second-to-none. After his arrest, his work ethic wouldn’t let him stay idle.
He became a pod helper, through which he volunteered by serving meals,
cleaning, and handling other duties. PSR ¶ 100. He impressed the jail staff so much
that two deputies offered to write statements of support for him, a rare occurrance.
Att. 3, 4. These letters praise his hard work, respectfulness, and positive influence.
Id. As a pod helper, he stayed busy and used his time productively. Att. 5. He was
later elevated to be an inmate worker, for which he was paid and was entrusted
with a greater level of autonomy. PSR ¶ 100.
      In addition to work, he pursued virtually every opportunity for education
offered by the jail. He literally completed all virtual learning courses available
through the jail tablets. PSR ¶ 100, att. 6. He also completed a parenting training
course, a course valued by Dane County Sherriff Kalvin Barrett, who Brooks had
an opportunity to meet at the graduation ceremony. Att. 7, 8. His instructor
praised his “strong desire to be more engaged and present in his child’s life.” Att.
9. He also completed a course in employability skills, and his instructor praised
his eagerness to learn. Att. 10.
       Taking all of this together, a picture forms that answers the question: why
is this time different? First, Brooks stepped up by getting his new family into a
program to address their homelessness so that he could finally build his stable
employment into a stable life. The problem? He hadn’t yet addressed his alcohol
addiction, leading to this offense in July. So in August, he took the next step:
independently engaging in alcohol treatment, four times a week on top of his full
time job. He has now been held in this case since October, but he hasn’t let that
stop his progress. He has not only attended Alcoholics Anonymous and education
courses, he maintained a full work schedule in the jail and earned the respect and
support of the jail staff. Adding all of this up, the takeaway is that Brooks has been
collecting the building blocks of success.
      There is a final piece of this journey: counseling and therapy to address the
deep scars of his childhood. For too long, he avoided dealing with these issues by
drinking. He hopes to get counseling so he can sustain his sobriety.
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       This Court offers supervision resources and it hopes that supervisees have
the will and initiative to take advantage of those resources. Brooks has proven that
he seizes these opportunities. He found housing assistance and instensive alcohol
treatment without court assistance and he has taken advantage of every single
opportunity available to him in custody, both in education and work. And he has
impressed his counselors, employers, and correctional officers along the way.
Brooks is a person who has answered why this time will be different.

      II. Brooks criminal history and this offense are driven by an alcohol
          addiction that he has taken strides to overcoming.

       Brooks suffered horrific physical and psychological abuse as a child. As a
teenager, he lived in an abusive, chaotic household. He and his siblings lived in
fear of Roland Scott, his mother’s boyfriend who would later be sentenced by this
Court. PSR ¶ 81. Scott psychologically and physically terrorized the children. PSR
¶ 81, 90. This culminated in Scott stabbing Brooks’ brother and holding the family
in the home in a standoff with police. PSR ¶ 81. Brooks told the police what
happened and the children were taken to foster care. But perversely, Scott later
tormented Brooks, by blaming Brooks for separating the family because he had
told the police what happened. PSR ¶ 94.

       This environment spawn Brooks’ reliance on alcohol to cope. Scott gave him
his first beer at 15. PSR ¶ 96. When Brooks drank, the chaos was muted. He could
survive hearing the yelling and abuse because the alcohol took away the anxiety.
PSR ¶ 96.

       Unfortunately, for most of his 20s, he continued to rely on alcohol to cope,
which contributed to nearly all of his arrests, including this one. The timeline of
Brooks’ criminal history is closely intertwined with his addiction. For instance,
when he was 24, his drinking was so excessive that a doctor warned him that his
liver could fail. PSR ¶ 96. He was able to cut down his drinking and had no issues
with law enforcement for over 2 years. PSR ¶ 53-54.

     But it wasn’t sustainable because he hadn’t addressed the underlying issues.
He had no formal alcohol treatment and still drank socially. And he didn’t have
counseling to address the deep trauma that sparked his reliance on alcohol. By 26,
he was back to drinking more heavily, leading to arrests.
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       Alcohol truly is the driver of his criminal history. He’s never committed
crimes to support himself; he’s always worked and worked hard. He’s never been
involved in gang or drug activity. This is not someone who needs to reinvent
himself or his lifestyle to be successful. He needs to take the straightforward, but
difficult, step of staying away from alcohol. If he can do that with the help of the
probation office, there is every reason to believe that he will be a model supervisee.

       Brooks has never been to prison. The period since his arrest in this case has
been his longest ever period of incarceration (although he had received jail
sentences of up to a year before, these were served on work release). PSR ¶ 52.
Although he has received enough jail sentences to place him in criminal history
category V, the sentences Brooks received generally failed to address his alcohol
addiction. He most often would spend a few weeks in county jail, or serve on work
release. He had little formal substance abuse treatment, prior to enrolling himself
at Jesse Crawford last August. These sentences did not accomplish what a sentence
in this case will: offer treatment in custody, provide resources for a successful
transition back into the community, and ongoing testing and accountability to
ensure he stays sober.

                                    Conclusion

        Brooks requests a sentence of 30 months. Brooks’ risk of reoffending can be
significantly mitigated by federal supervision. The probation office can provide a
system for multiple-times-a-day breath testing for alcohol. If he stays sober, he will
perform well and will pose no danger to community. If he relapses, he will quickly
fail a test and be subject to intervention by the court. Over the past year, Brooks
has built a track record of responsibility and discipline that indicate that a
guidelines sentence is not needed to accomplish the goals of sentencing.

      Thank you for your attention to this matter.

                                       Sincerely,

                                       /s/ Alex Vlisides

                                       Alex Vlisides
                                       Associate Federal Defender
